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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA

IN RE:
         Kendra Randolph                      Chapter 13 Bankruptcy
                                              Case No.: 19-62041
                       Debtor

                                    MOTION TO EXTEND

         COMES NOW, Kimberly Yancey Brooks, counsel for Debtor, who asks that the time for

the Debtor(s) to comply with the conditions contained in the Order of Continuance, be extended

from October 13, 2023, to October 16, 2023. The reason for this extension is because counsel

for Debtor needs additional time to go over the documents with the Debtor.

         A proposed order will be sent to the Trustee for endorsement.

         WHEREFORE, Counsel for Debtor(s), asks that this Motion be granted.


                                              Dated: October 13, 2023

                                              Kendra Randolph

                                              By: /s/ Kimberly Yancey Brooks
                                              Kimberly Yancey Brooks, V.S.B.#46507
                                              Counsel for Debtor(s)
                                              P.O. Box 16025
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                                       CERTIFICATION

        I hereby certify that a true copy of this foregoing Motion to Extend was sent by ECF on
the 13th day of October 2023, to Angela Scolforo, Chapter 13 Trustee.

                                              /s/ Kimberly Brooks
